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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


MARIA NELSON,lndividually, and as a                  )
Representdtive of the Estate of                      )
Rosendo Roel, Deceased, and Jose Roel,               )
                                                     )
                      Plaintiffs,                    )
                                                     )
                                                     )
                                                     )
UNION PACIFIC RAILROAD COMPANY                       )
and JOHN DOES,                                       )
                                                     )
                      Defendants.                    )   Civil Action No. 3:21-CV-1507-C


                                                 ORDER

       The Court, having considered Defendant Union Pacific Railroad Company's Unopposed

Motion to Remand, filed July 2,2021, is of the opinion that the same should be GRANTED.

Accordingly, it is hereby ORDERED that the above-styled and -numbered civil action be

REMANDED back to the 68th Judicial District Court of Dallas County, Texas. The Clerk of

Court shall mail a certified copy of,this Order to the District Clerk of Dallas County. Texas.
                                    /
       SO ORDERED *iS
                      (I                day of July, 2020.



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                                                             C         GS
                                                                       STA            CT JUDGE
